718 F.2d 971
    PACEMAKER DIAGNOSTIC CLINIC OF AMERICA, INC., a TennesseeCorporation, Plaintiff-Appellant, Cross-Appellee,v.INSTROMEDIX, INC., an Oregon Corporation,Defendant-Appellee, Cross-Appellant.
    Nos. 82-3152, 82-3182.
    United States Court of Appeals,Ninth Circuit.
    Oct. 20, 1983.
    
      J. Pierre Kolisch, Kolisch, Hartwell, Dickinson &amp; Stuart, Portland, Or., for defendant-appellee, cross-appellant.
      Sherman O. Parrett, Cushman, Darby &amp; Cushman, Washington, D.C., for plaintiff-appellant, cross-appellee.
      Before BROWNING, Chief Judge, CHOY, GOODWIN, WALLACE, SNEED, KENNEDY, ANDERSON, HUG, TANG, SKOPIL, SCHROEDER, FLETCHER, FARRIS, PREGERSON, ALARCON, POOLE, FERGUSON, NELSON, CANBY, BOOCHEVER, NORRIS, and REINHARDT, Circuit Judges.ORDER
    
    
      1
      Upon the vote of a majority of the regular active judges of this court, it is ordered that this case be reheard by an en banc panel of the court pursuant to Rule 25 of the Rules of the United States Court of Appeals for the Ninth Circuit.  The previous three-judge panel assignment, 712 F.2d 1305 (9th Cir.1983) is withdrawn.
    
    
      2
      Oral argument in the above case will be held in San Francisco, on Tuesday, November 15, 1983, at 1:30 p.m.
    
    